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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                       BEAUMONT DIVISION

CURTIS LEE SHEPPARD                              §

VS.                                              §              CIVIL ACTION NO. 1:21-CV-474

MAJOR LUCAS, ET AL.                              §

                    MEMORANDUM OPINION REGARDING TRANSFER

       Plaintiff Curtis Lee Sheppard, an inmate confined at the Michael Unit of the Texas

Department of Criminal Justice, Correctional Institutions Division, proceeding pro se, brings this

civil rights action pursuant to 42 U.S.C. § 1983 against Major Lucas, Captain Light, Warden Collins,

Warden Babcock, and Warden Meador, all employed at the Michael Unit.

       The above-styled action was referred to the undersigned United States Magistrate Judge

pursuant to 28 U.S.C. 636 and the Local Rules for the Assignment of Duties to the United States

Magistrate Judge.

                                            Discussion

       Plaintiff brings this lawsuit concerning an incident which occurred at the Michael Unit on

October 16, 2020.

       The Civil Rights Act, 42 U.S.C. §1981, et seq., under which this case is brought, does not

contain a specific venue provision. Accordingly, venue in civil rights cases is controlled by 28

U.S.C. § 1391. When, as in this case, jurisdiction is not founded solely on diversity of citizenship,

28 U.S.C. § 1391(b) provides that venue is proper only in the judicial district where the defendants

reside or in which the claims arose.
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        The claims which form the basis of Plaintiff’s complaint occurred at the Michael Unit. The

Michael Unit is located in Anderson County, Texas. In addition, the defendants in this action are

all employed at the Michael Unit. Pursuant to 28 U.S.C. § 124, Anderson County is located in the

Tyler Division of the United States District Court for the Eastern District of Texas. As a result,
 .
venue is proper in the Eastern District of Texas.

        While Anderson County is within the jurisdictional boundaries of the Eastern District of

Texas, it is located in the Tyler Division of the district, rather than the Beaumont Division. When

a case is filed in the wrong district or division, the court “shall dismiss, or if it be in the interest of

justice, transfer such case to any district or division in which it could have been brought.” 28 U.S.C.

§ 1406(a). Accordingly, this case should be transferred to the Tyler Division of this court. An

appropriate order so providing will be entered by the undersigned.


                      SIGNED this the 28th day of September, 2021.




                                                    ___________________________________
                                                    Christine L Stetson
                                                    UNITED STATES MAGISTRATE JUDGE




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